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                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT
                                 717 MADISON PLACE, N.W.
                                 WASHINGTON, D.C. 20439

 JARRETT B. PERLOW                                                         CLERK’S OFFICE
  CLERK OF COURT                                                            202-275-8000


                                    February 22, 2024

                           2024-1097 - Google LLC v. Sonos, Inc.

                     NOTICE OF NON-COMPLIANCE
The document (Entry of Appearance, Motion, Amicus Brief) submitted by Alliance of
U.S. Startups and Inventors for Jobs is not in compliance with the rules of this
court. Within five business days from the date of this notice, please submit a
corrected version of this document correcting the following:

Amicus Brief:

   •   The filing of a separate or supplemental appendix by any party is not
       authorized without first obtaining leave of the court. Refer to Fed. Cir. R.
       30(e) for exceptions.

Certificate of Interest:

   •   The document is filed on behalf of a party that is not participating in the
       appeal, has no appellate designation, or is otherwise not included on the
       official caption. Fed. R. App. P. 12(a); Fed. Cir. R. 15(b)(4). Refer to Practice
       Notes to Rule 12 and 15.

   •   A Certificate of Interest has not been filed in the case. Fed. Cir. R. 47.4(b).

Entry of Appearance:

   •   The document is filed on behalf of a party that is not participating in the
       appeal, has no appellate designation, or is otherwise not included on the
       official caption. Fed. R. App. P. 12(a); Fed. Cir. R. 15(b)(4). Refer to Practice
       Notes to Rule 12 and 15.

       Clerk’s Note: Section I of the Certificate of Interest (COI) does not use the
       party’s official name and is filed on behalf of parties who have not made an
       appearance in the case. Accordingly, the Entry of Appearance (EOA) lists only
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     one party as being represented in the case. All parties being represented in the
     EOA and COI must match, and accordingly be included on the brief’s title and
     statement of identity. Also, an appendix is not authorized to be filed in an
     amicus brief without leave of court. If the submission is part of the COI, it
     should be included with the COI.


                                        ***

If applicable, the deadline for the next or responsive submission is computed from
  the original submission date, not the submission date of the corrected version.

  When filing the corrected document, please include the word "Corrected" in the
 document title or on the cover. See Fed. Cir. R. 25(c)(4) and Fed. Cir. R. 25(i) for
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A party's failure to timely file a corrected document curing all defects identified on
this notice may result in the original document being stricken from the docket. An
appellant's failure to cure a defective filing may also result in the dismissal of the
                       appeal pursuant to Fed. R. App. P. 31(c).


                                               FOR THE COURT




                                               By: G. Kilgore, Deputy Clerk
